Case 1:20-cv-00170-LMB-JFA Document 191 Filed 04/29/22 Page 1 of 4 PageID# 1404




                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

 MUNA AL-SUYID et al.,                       )
                                             )
            Plaintiffs                       )
                                             )
 v.                                          )     Case No. 1:20-cv-00170 (LMB/JFA)
                                             )
 KHALIFA HIFTER,                             )
                                             )
            Defendant.                       )
                                             )

                           JOINT DISCOVERY STATUS REPORT

            Pursuant to this Court’s Order of April 22, 2022, Dkt. No. 187, the Parties,

 having met and conferred, jointly submit the following status report on (1)

 outstanding discovery issues, and (2) proposed briefing schedule for dispositive

 motions.

                                  Outstanding Discovery Issues

      I.       Written Discovery

            The Parties agree that Defendant will produce supplemental responses to

 Plaintiffs’ Interrogatory No. 13 and Requests for Production, pursuant to the

 Court’s prior orders, by May 4, 2022.

      II.      Protective Order

            The Parties further agree that to facilitate uniform discovery protections

 across the three related matters, they will negotiate terms for a protective order and

 will seek uniformity with the expected protective orders in the other two matters.

 Toward that end, in the event that the Parties are unable to agree on the terms of a
Case 1:20-cv-00170-LMB-JFA Document 191 Filed 04/29/22 Page 2 of 4 PageID# 1405




 protective order, the Parties agree to argue a motion for protective order on May 6,

 2022, on the same date as protective order motions in the other two matters.

           For purposes of producing Confidential and/or Attorneys Eyes Only material,

 Defendant will specify in the supplemental responses of May 4, 2022 whether any

 material is being withheld as Confidential and/or Attorneys Eyes Only, and that

 such material will be produced immediately upon entry of a protective order on May

 6, 2022.

    III.      Depositions

           The Parties agree that the joint deposition of the Defendant will take place

 on May 9, 2022. Plaintiffs are requesting an additional day of deposition, and this is

 not agreed by Defendant.

           The Parties agree that the re-deposition of Plaintiff Ibrahim al-Krshini,

 pursuant to the Court’s ruling on October 29, 2021, needs to be scheduled and

 counsel will exchange dates within the next seven days to get that deposition

 scheduled.

                                  Proposed Briefing Schedule

           The following proposed briefing schedule takes into account the parallel

 dispositive motions to be filed and briefed in the two related matters:

              •   Dispositive Motion and Brief to be filed July 1, 2022;

              •   Opposition to be filed July 15, 2022;

              •   Reply to be filed July 22, 2022;

              •   Hearing date: July 29, 2022.



                                                 2
Case 1:20-cv-00170-LMB-JFA Document 191 Filed 04/29/22 Page 3 of 4 PageID# 1406




       WHEREFORE, the Parties request that the Court approve their proposed

 briefing schedule.

 Dated: April 29, 2022                     Respectfully submitted,




                                           /s/ Jason C. Greaves
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                                       3
Case 1:20-cv-00170-LMB-JFA Document 191 Filed 04/29/22 Page 4 of 4 PageID# 1407




                            CERTIFICATE OF SERVICE

       I certify that on April 29, 2022, a copy of the foregoing was filed with the Clerk

 of the Court using the Court’s CM/ECF system, which will send a copy to all counsel

 of record.

 Dated: April 29, 2022                                /s/ Jason C. Greaves
                                                      Jason C. Greaves

                                                      Attorney for Khalifa Hifter
